           Case 5:12-cv-00892-M Document 25 Filed 03/06/13 Page 1 of 3



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

WALTER T. LACEY, JR.,                         )
                                              )
                       Plaintiff,             )
                                              )
vs.                                           )       Case No. CIV-12-892-M
                                              )
HOMEOWNERS OF AMERICA                         )
INSURANCE COMPANY,                            )
                                              )
                       Defendant.             )

                                              ORDER

       Before the Court is defendant’s Motion to Dismiss, filed October 12, 2012. On November

2, 2012, plaintiff filed his response. On November 9, 2012, defendant filed its reply, and on

November 20, 2012, plaintiff filed his response to defendant’s reply.

       On August 16, 2012, plaintiff filed the instant action. Defendant now moves, pursuant to

Federal Rule of Civil Procedure 12(b)(6), to dismiss plaintiff’s Complaint on the grounds that

plaintiff has failed to state a claim upon which relief can be granted.

       Federal Rule of Civil Procedure 8(a) provides:

               A pleading that states a claim for relief must contain:
               (1)    a short and plain statement of the grounds for the court’s
                      jurisdiction, unless the court already has jurisdiction and the
                      claim needs no new jurisdictional support;
               (2)    a short and plain statement of the claim showing that the
                      pleader is entitled to relief; and
               (3)    a demand for the relief sought, which may include relief in
                      the alternative or different types of relief.

Fed. R. Civ. P. 8(a). Additionally, regarding the standard for determining whether to dismiss a claim

pursuant to Federal Rule of Civil Procedure 12(b)(6), the United States Supreme Court has held:

               To survive a motion to dismiss, a complaint must contain sufficient
               factual matter, accepted as true, to state a claim to relief that is
               plausible on its face. A claim has facial plausibility when the
           Case 5:12-cv-00892-M Document 25 Filed 03/06/13 Page 2 of 3



               plaintiff pleads factual content that allows the court to draw the
               reasonable inference that the defendant is liable for the misconduct
               alleged. The plausibility standard is not akin to a “probability
               requirement,” but it asks for more than a sheer possibility that a
               defendant has acted unlawfully. Where a complaint pleads facts that
               are merely consistent with a defendant’s liability, it stops short of the
               line between possibility and plausibility of entitlement to relief.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotations and citations omitted). Further,

“where the well-pleaded facts do not permit the court to infer more than the mere possibility of

misconduct, the complaint has alleged - but it has not shown - that the pleader is entitled to relief.”

Id. at 679 (internal quotations and citations omitted). Additionally, “[a] pleading that offers labels

and conclusions or a formulaic recitation of the elements of a cause of action will not do. Nor does

a complaint suffice if it tenders naked assertion[s] devoid of further factual enhancement.” Id. at

678 (internal quotations and citations omitted). Finally, “[a] court reviewing the sufficiency of a

complaint presumes all of plaintiff’s factual allegations are true and construes them in the light most

favorable to the plaintiff.” Hall v. Bellmon, 935 F.2d 1106, 1109 (10th Cir. 1991).

       Having carefully reviewed the Complaint, the Court finds that plaintiff has not set forth a

short and plain statement of the grounds for the Court’s jurisdiction and has not set forth a demand

for the relief sought. The Court further finds that plaintiff has not set forth a short and plain

statement of the claim showing that he is entitled to relief. The Court finds, for the reasons set forth

in defendant’s motion to dismiss, that plaintiff has not set forth sufficient factual allegations in his

Complaint to state any claim for relief. Accordingly, the Court finds that plaintiff’s Complaint

should be dismissed.




                                                   2
          Case 5:12-cv-00892-M Document 25 Filed 03/06/13 Page 3 of 3



      The Court, therefore, GRANTS defendant’s Motion to Dismiss [docket no. 11] and

DISMISSES this action.

      IT IS SO ORDERED this 6th day of March, 2012.




                                         3
